     Case 3:19-cv-01073-W-MDD Document 15 Filed 10/09/19 PageID.75 Page 1 of 3

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                        UNITED STATES DISTRICT COURT
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                                  FOR THE
14                    SOUTHERN DISTRICT OF CALIFORNIA
15
     STEPHEN JONES;                           Case Number: 3:19-cv-01073-W-MDD
16
                  Plaintiff,                  HON. JUDGE THOMAS J. WHELAN
17
                            v.                MAGISTRATE JUDGE MITCHELL D.
18                                            DEMBIN
     AARON’S, INC.;
19
                 Defendant.                   NOTICE OF SETTLEMENT
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     AARONS, INC.,
22
               Counter-Claimant,
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                         v.
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     STEPHEN JONES,
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               Counter Defendant.
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     NOTICE OF SETTLEMENT                                         Page 1 of 2
     Case 3:19-cv-01073-W-MDD Document 15 Filed 10/09/19 PageID.76 Page 2 of 3

 1   TO THE COURT:
 2         Plaintiff STEPHEN JONES (“Plaintiff”), through counsel, hereby submits this
 3   Notice of Settlement to notify the Court that the lawsuit has been settled, and
 4   respectfully requests that the Court grant Plaintiff until October 24, 2019, to file the
 5   expected Notice of Voluntary Dismissal.
 6
 7   DATED: October 9, 2019                  THE CARDOZA LAW CORPORATION
 8                                           BY: /S/ LAUREN B. VEGGIAN
                                             MICHAEL F. CARDOZA, ESQ.
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                                             LAUREN B. VEGGIAN, ESQ.
10                                           ATTORNEYS FOR PLAINTIFF,
                                             STEPHEN JONES
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     NOTICE OF SETTLEMENT                                                   Page 2 of 2
     Case 3:19-cv-01073-W-MDD Document 15 Filed 10/09/19 PageID.77 Page 3 of 3
                                CERTIFICATE OF SERVICE
 1
 2         I, Lauren B. Veggian, am the ECF user whose identification and password are
     being used to file this document.
 3
 4   I also hereby certify that on October 9, 2019, I electronically filed a true and correct
     copy of the foregoing Notice of Settlement with the Clerk of the Court for the United
 5
     States District Court for the Southern District Of California using the CM/ECF system.
 6   I also certify that all participants in this case are registered CM/ECF users, and service
     will be accomplished by the CM/ECF system.
 7
 8                                            THE CARDOZA LAW CORPORATION
 9   DATED: October 9, 2019                   BY: /S/ LAUREN B. VEGGIAN
                                              MICHAEL F. CARDOZA, ESQ.
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                                              LAUREN B. VEGGIAN, ESQ.
11                                            ATTORNEYS FOR PLAINTIFF,
                                              STEPHEN JONES
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     CERTIFICATE OF SERVICE
